Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 1 of 19 PageID #:7751




                      Exhibit &
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 2 of 19 PageID #:7752
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                           Page 2
1    APPEARANCES:
2             EDELSON, PC
3             BY:   BEN THOMASSEN
4             350 North LaSalle Street
5             14th Floor
6             Chicago, Illinois         60654
7             312.589.6370
8             bthomassen@edelson.com
9                   Representing the Plaintiff;
10
11            PEDERSEN & HOUPT
12            BY:   BEVIN BRENNAN
13            161 North Clark Street
14            Suite 2700
15            Chicago, Illinois         60601
16            312.641.6888
17            bbrennan@pedersenhoupt.com
18                  Representing the Defendant.
19
20
21
22
23
24


                       Royal Reporting Services, Inc.
                                312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 3 of 19 PageID #:7753
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                           Page 3
1                          INDEX
2    WITNESS                                                  PAGE
3    GREGORY GREENE
4    Direct Examination by Ms. Brennan                          4
     Cross-Examination by Mr. Thomassen                        60
5
6
                           EXHIBITS
7
     EXHIBIT NUMBER                             MARKED FOR ID
8
     Greene Deposition
9
     Exhibit No. 1                                       9
10   Exhibit No. 2                                      16
     Exhibit No. 3                                      23
11   Exhibit No. 4                                      25
     Exhibit No. 5                                      27
12   Exhibit No. 6                                      35
     Exhibit No. 7                                      50
13
14
15
16
17
18
19
20
21
22
23
24


                       Royal Reporting Services, Inc.
                                312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 4 of 19 PageID #:7754
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                           Page 4
1                                 (Witness duly sworn.)
2                              GREGORY GREENE,
3    called as a witness herein, having been
4    first duly sworn, was examined and testified
5    as follows:
6                             DIRECT EXAMINATION
7    BY MS. BRENNAN:
8          Q.     Good morning, Mr. Greene.            My name is
9    Bevin Brennan.        I represent Mark Karpeles in this
10   case.
11                Have you ever been deposed before?
12         A.     No.
13         Q.     Let me just go over a few background-type
14   ground rules.        The court reporter is taking down
15   everything we say, so if you could answer my questions
16   audibly.      Nods of the head, shakes of the head,
17   obviously she can't take that down.
18                I will also -- if you could wait until I
19   finish the question, even if you think you know what
20   I'm going to ask, to both make sure we're clear on
21   what you're answering, as well as it's hard for the
22   court reporter to take down.              I will also extend you
23   the same courtesy and wait for you to answer or try to
24   if I think you're done.            If I interrupt you, just let


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 5 of 19 PageID #:7755
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                         Page 15
1          Q.     Was ZipZap the only company that could be
2    used to send money orders to BitInstant?
3          A.     I think ZipZap is what Walgreens uses to send
4    money orders.
5          Q.     Before you purchased bitcoins, did you review
6    information on Mt. Gox's website?
7          A.     Yes.
8          Q.     What information did you review on Mt. Gox's
9    website?
10         A.     I believe I would have reviewed their general
11   website.      What specifically, I don't recall at the
12   time, but I know I would have went to their website
13   and checked it out, saw how user friendly it was, saw,
14   you know, the site itself.             Specifically, I don't
15   recall.
16         Q.     Do you recall any information about the
17   security of the Mt. Gox website or exchange?
18         A.     No, I don't recall.
19         Q.     Do you recall reading anything on Mt. Gox's
20   website that said it would hold bitcoin securely for
21   all users?
22         A.     I believe so, yeah.
23         Q.     Where did you read that?
24         A.     On the terms of use probably.


                       Royal Reporting Services, Inc.
                                312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 6 of 19 PageID #:7756
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                         Page 16
1          Q.     Anywhere else?
2          A.     No, I don't recall.
3                 MS. BRENNAN:       Mark this as two.
4                                 (Whereupon, Greene Exhibit No. 2
5                                   was marked for identification.)
6    BY MS. BRENNAN:
7          Q.     Mr. Greene, you've been handed what's been
8    marked as Exhibit 2.           Do you recognize this as a copy
9    of the Fourth Amended Class Action Complaint in this
10   case?
11         A.     Yes.
12         Q.     If I could ask you please -- did you review
13   this complaint before it was filed?
14         A.     Yes.
15         Q.     Did you agree with what the allegations in
16   the fourth amended complaint state?
17         A.     Yes.
18         Q.     If I could ask you to look at paragraph 50 on
19   page 13, please.         That paragraph alleges:           "Relying
20   upon these representations made by Mt. Gox -- namely
21   that it would allow him to 'quickly and securely trade
22   bitcoins with other people around the world' and give
23   him 'the ability to securely store his bitcoins in a
24   virtual vault for safekeeping' -- Greene signed up for


                       Royal Reporting Services, Inc.
                                312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 7 of 19 PageID #:7757
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                         Page 17
1    an account on Mt. Gox's website in 2012 and began
2    trading and selling Bitcoin."              Do you see that?
3          A.     Yes.
4          Q.     Where was the representation made by Mt. Gox
5    that it would allow you to quickly and securely trade
6    bitcoins with other people around the world?
7          A.     I don't recall at this time.             I would guess
8    it was somewhere on their website.
9          Q.     How about the second portion of that
10   sentence, where did Mt. Gox state that "the ability to
11   securely store his bitcoins in a virtual vault for
12   safekeeping"?
13         A.     Which paragraph was that?
14         Q.     It's the second part of paragraph 50, the
15   second quoted portion.
16         A.     At this time I don't recall where that was
17   at.    I think it was probably on the website somewhere.
18         Q.     At the time that you signed up for an account
19   on Mt. Gox, were there terms of use in place?
20         A.     Yes.
21         Q.     And did you read all the terms of use?
22         A.     Yes.
23         Q.     Were there any terms that stood out to you at
24   the time you signed up for an account at Mt. Gox?


                       Royal Reporting Services, Inc.
                                312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 8 of 19 PageID #:7758
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                         Page 18
1          A.     I don't recall.
2          Q.     Do you recall any of the terms of use that
3    you read before signing up for your account at
4    Mt. Gox?
5          A.     No.    Right now at this time, I don't
6    remember.
7          Q.     Do you recall that Mt. Gox had a privacy
8    policy?
9          A.     I don't recall right now.            I don't remember
10   what it was.
11         Q.     If I could ask you to keep Exhibit -- back to
12   Exhibit 2, which is the fourth amended complaint.
13   We'll go back to paragraph 50 where it alleges that
14   Mt. Gox made a representation that it would allow you
15   to quickly and securely trade bitcoins with other
16   people around the world.            What does "securely" mean?
17         A.     To securely -- securely, I guess it would
18   mean to trade them from one account on the exchange to
19   another account without -- knowing that it would
20   properly go from one account to the next without
21   losing any, without any other parties other than the
22   two parties and Mt. Gox knowing of the transaction.                      I
23   guess that's it.
24         Q.     Do you think that's the only possible meaning


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 9 of 19 PageID #:7759
                   Gregory Greene v. Mark Karpeles
           Deposition of Gregory Greene - Taken 11/11/2019

                                                                         Page 25
1          A.     Yes.
2          Q.     Does that look like the date you first
3    purchased bitcoins from Mt. Gox -- or excuse me --
4    bitcoins using the Mt. Gox exchange?
5                 MR. THOMASSEN:        Object to form.
6                 THE WITNESS:       It probably is, yeah.
7    BY MS. BRENNAN:
8          Q.     Do you recall a purchase prior to
9    January 5th, 2012?
10         A.     No, I don't recall.
11                MS. BRENNAN:       Mark this as Exhibit 4.
12                                (Whereupon, Greene Exhibit No. 4
13                                  was marked for identification.)
14   BY MS. BRENNAN:
15         Q.     Mr. Greene, you've been handed what's been
16   marked as Exhibit 4, which has Bates labels Greene 17
17   to 18 on the bottom.           Do you see that?
18         A.     Yes.
19         Q.     What is this document?
20         A.     This is another -- it looks like another
21   invoice or confirmation that funds were sent to
22   BitInstant.
23         Q.     And the date of this email is March 4th,
24   2015, correct?


                       Royal Reporting Services, Inc.
                                312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 10 of 19 PageID #:7760
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 31
1     issues," do you see that?
2          A.     Yes.
3          Q.     How did customer service help to resolve the
4     issues?
5          A.     I believe I must -- I guess I would have
6     received an email from them saying they're working on
7     it, if I recall.         I don't recall.        I don't remember.
8          Q.     Do you recall having any telephonic
9     discussions with customer service at Mt. Gox?
10         A.     No.
11         Q.     It would have all been over email?
12         A.     Yes.
13         Q.     Was your only complaint in November of 2013
14    about delays with your bitcoin transactions?
15                MR. THOMASSEN:        Object to form.
16    BY MS. BRENNAN:
17         Q.     Okay.     Strike that.
18                In paragraph 52, the allegation says, "In
19    November of 2013, Greene began experiencing delays
20    with his bitcoin transactions and complained to
21    Mt. Gox customer service."            Do you see that?
22         A.     Yes.
23         Q.     Is the reason why you contacted customer
24    service in November of 2013 because you were


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 11 of 19 PageID #:7761
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 32
1     experiencing delays with your bitcoin transactions?
2          A.     Yes.
3          Q.     Were there any other reasons that you reached
4     out to customer service in November of 2013?
5          A.     No.
6          Q.     And what bitcoin transactions were you trying
7     to make in November 2013?
8          A.     I was trying to remove the bitcoins from my
9     account to a personal address.
10         Q.     What do you mean by personal address?
11         A.     A personal bitcoin address.
12         Q.     And explain to me what your personal bitcoin
13    address was.
14         A.     An individual address that holds bitcoin.
15         Q.     Why did you want to do that?
16         A.     Because I knew at the time that other
17    individuals were having difficulty removing their
18    bitcoins from the Mt. Gox Exchange.
19         Q.     How did you know that?
20         A.     Through online forums such as
21    bitcointalk.org.
22         Q.     Were you ultimately able to remove bitcoins
23    from the Mt. Gox Exchange to your personal address?
24         A.     Some.


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 12 of 19 PageID #:7762
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 33
1          Q.     What percentage were you able to remove?
2          A.     I don't recall what the percentage was.
3          Q.     Why didn't you remove them all from Mt. Gox?
4          A.     Because they wouldn't send them to me.
5          Q.     So if I read the next sentence in
6     paragraph 52 that says, "Although customer service
7     helped to resolve his issues," did you consider your
8     issues resolved even if Mt. Gox wouldn't send the
9     remainder to you?
10         A.     No.
11         Q.     That was probably my fault for a double
12    negative.
13                Were the issues all resolved that you
14    raised in November 2013 by Mt. Gox customer service?
15         A.     All of my issues were not resolved at that
16    time.
17         Q.     What were your other issues?
18         A.     There were still bitcoins in my account that
19    were not -- that I was not able to receive.
20         Q.     Did you make any other inquiries from
21    November 2013 to January 2014 to Mt. Gox customer
22    service to try to withdraw the remainder of your
23    bitcoins from the Mt. Gox Exchange?
24         A.     I believe so, yes.


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 13 of 19 PageID #:7763
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 34
1          Q.     And how did you make those requests?
2          A.     Through email requests.
3          Q.     Do you have those emails?
4          A.     I guess not, no.
5          Q.     Why wouldn't you have those emails?
6          A.     I'm not -- I don't know.
7          Q.     You didn't delete any emails, correct?
8          A.     No, I don't think I did.            However, I don't
9     know.
10         Q.     Did you ever review any support desk updates
11    from Mt. Gox?
12         A.     What are those?
13         Q.     Let me start with that.            Do you know what
14    support desk updates are from Mt. Gox?
15         A.     No, I don't recall.
16         Q.     Do you recall reviewing any sort of either
17    blog or update that was posted directly to Mt. Gox's
18    website?
19         A.     No, I don't recall.          There might have been,
20    and that's why maybe I don't have emails regarding
21    correspondence.        At the time Mt. Gox might have had an
22    online complaint system where you would file
23    complaints directly on Mt. Gox's website.                  At the time
24    I can't recall considering how long it's been.


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 14 of 19 PageID #:7764
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 44
1     Exchange?
2          A.     I believe so.
3          Q.     Why do you believe that?
4          A.     I believe that -- I find it incredible that
5     he would not have known what happened to the bitcoins
6     that were on Mt. Gox's exchange.
7          Q.     Any other reason?
8          A.     No.
9          Q.     Do you believe that Mr. Karpeles wrongfully
10    accessed your bitcoins?
11         A.     I believe that he wrongfully accessed
12    everybody on the exchange's bitcoins, so that would
13    include mine.
14         Q.     But you don't think he directly made access
15    to your account and nobody else's, correct?
16         A.     No.
17         Q.     Did Mr. Karpeles assert ownership over your
18    bitcoins today?
19         A.     Yes.
20         Q.     Why do you believe that?
21         A.     Because he was the CEO of the Mt. Gox
22    Exchange, and he was the only one that would have had
23    access to those bitcoins at that time.
24         Q.     Do you believe that Mr. Karpeles knowingly


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 15 of 19 PageID #:7765
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 45
1     concealed the defects from the public and falsely
2     assured users that their bitcoins and money were safe
3     in their accounts?
4          A.     Yes.
5          Q.     How did he do that?
6          A.     Through -- he was on bitcointalk.org's
7     website on numerous occasions indicating that Mt. Gox
8     was solid; that it was secure; and that bitcoin --
9     that Mt. Gox was a stable company.
10         Q.     When were those posts made?
11         A.     Between 2011 and 2014 when it went into
12    bankruptcy.
13         Q.     Do you have a specific date for any of those
14    posts?
15         A.     It was all throughout that time period that
16    he was posting on bitcointalk.org under the username
17    MagicalTux.
18         Q.     And you believe he used the phrases "solid,"
19    "secure," and "stable"?
20         A.     I don't know if those were the exact phrases
21    that he used, but he conveyed that.
22         Q.     On bitcointalk.org, who starts a string for
23    discussion?
24         A.     Anybody who's a user of the forum.


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 16 of 19 PageID #:7766
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 46
1          Q.     Anywhere else that Mr. Karpeles made those
2     representations?
3          A.     He was on internet chat sites, I believe, and
4     those oftentimes were reposted onto the
5     bitcointalk.org forum.
6          Q.     Other than bitcointalk.org, were there any
7     other websites that you followed?
8                 MR. THOMASSEN:        Object to form.
9     BY MS. BRENNAN:
10         Q.     With respect to Mt. Gox or bitcoins?
11         A.     No.    Not at that time, no.
12         Q.     You qualified with not at that time.                Are
13    there ones that you follow currently or since 2014?
14         A.     Since 2014, other sites and other locations
15    on the internet allow for discussions to occur such as
16    Reddit and Twitter.          But at the time between 2011 and
17    2014, I would not have reviewed that, at least I don't
18    recall ever reviewing anything other than
19    bitcointalk.org.
20         Q.     Do you believe that Mr. Karpeles directed
21    Mt. Gox's customer service team?
22         A.     Yes.
23         Q.     Why do you believe that?
24         A.     He was the CEO, and he's indicated since


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 17 of 19 PageID #:7767
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 62
1          A.     No.
2                 MR. THOMASSEN:        That's all.
3                 MS. BRENNAN:       Okay.     I don't have any
4     follow-up on that.         I am going to have follow-up with
5     you with respect to document searches and documents
6     like with Fortress and all that.               So subject to that
7     reservation, I doubt I'll need him to come back, but
8     that will be about it.
9                 MR. THOMASSEN:        Sure.
10                                 (Witness excused at 11:25 a.m.)
11
12
13
14
15
16
17
18
19
20
21
22
23
24


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 18 of 19 PageID #:7768
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 63
1     STATE OF ILLINOIS                         )
                                                )    SS:
2     COUNTY OF COOK                            )
3
4                 I, Judith T. Lepore, Certified Shorthand
5     Reporter in the State of Illinois, do hereby certify
6     that on the 11th day of November, 2019, the deposition
7     of the witness, GREGORY GREENE, called by the
8     Defendant, was taken before me, reported
9     stenographically and was thereafter reduced to
10    typewriting through computer-aided transcription.
11                The said witness, GREGORY GREENE, was first
12    duly sworn to tell the truth, the whole truth, and
13    nothing but the truth, and was then examined upon oral
14    interrogatories.
15                I further certify that the foregoing is a
16    true, accurate and complete record of the questions
17    asked of and answers made by the said witness, at the
18    time and place hereinabove referred to.
19                The signature of the witness was waived by
20    agreement.
21                The undersigned is not interested in the
22    within case, nor of kin or counsel to any of the
23    parties.
24                IN TESTIMONY WHEREOF:           I have hereunto set my


                        Royal Reporting Services, Inc.
                                 312.361.8851
 Case: 1:14-cv-01437 Document #: 467-5 Filed: 02/18/20 Page 19 of 19 PageID #:7769
                    Gregory Greene v. Mark Karpeles
            Deposition of Gregory Greene - Taken 11/11/2019

                                                                          Page 64
1     verified digital signature this 20th of November 2019.
2
3
4
5
                            ____________________________________
6                           Judith T. Lepore, CSR
7
8
      License No. 084-004040
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24


                        Royal Reporting Services, Inc.
                                 312.361.8851
